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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

In re                                          )    Civil Action No. 18-cv-00381 (RGA)
                                               )
ENERGY FUTURE HOLDINGS                         )
CORP.,                                         )    Chapter 11
et al.,                                        )    Bankruptcy Case No. 14-10979 (CSS)
                             Debtors.          )    (Jointly Administered)
SHIRLEY FENICLE, INDIVIDUALLY,)
AND AS SUCCESSOR -IN-INTEREST ~
TO THE ESTATE OF GEORGE
FENICLE, DAVID WILLIAM FAHY, ~
JOHN H. JONES, DAVID
HEINZMANN, HAROLD BISSELL,    )
KURTCARLSON,ROBERTALBINI, ~
AND DENIS BERGSCHNEIDER       )
                                               )
                             Appellants,       )
                                               )
v.                                             )
ENERGY FUTURE HOLDINGS                         )
CORP., et al.,                                 )
                                               )
                             Appellees.
                                               )
~~~~~~~~~.)

                  ~ORDER GRANTING MOTION TO AMEND
                  CAPTION OR, IN THE ALTERNATIVE, TO INTERVENE

              Upon the EFH Plan Administrator Board's Motion to Amend Caption or, in
                                (t,i.ri)
     the Alternative, to Intervene in the above-captioned appeal (the "Motion"); a.Ha th.~
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     having W\:lfttt that veAY@ is proper b@ffife this Celift; ana ta@ Coua Aa-viHg "fow.nd

     fb.at the~II Pltm Administtat6I Board provided dnc and J'f6per neti1Se of +Be.


     RLFI 19127108v.J
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Gsurt; and that the legal ai:i'1 faettutl bases set forth in the Motton esta'15llsh-jmt

                      ·                      · , and after due deliberation and sufficient cause
        (J.rl-4 <.OJJ?\&eS"-~~ ~ 'ff.u..   f'tlw--- pf-~~ (tJ. I, z-z,, ~)
appearing therefor, it is hereby ORDERED:                               )
                          "'
         1.        The Motion is hereby granted.

        2.         The EFH Plan Administrator Board is a party to the above-captioned

appeal, and the case caption will be amended to reflect the EFH Plan Administrator

Board is an appellee in the above-captioned appeal.

         3....     Tbe FFH Plai:i Administrator Domd is hereby authari:l:ed                 ttntt

empowered tg take all ttetions necessary to implement the relief grantee i:R this

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fwm or relatiDg to the jnterpretatioD, iffifJl@mentation or enforcement of this Ord~                I'
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                                                        United States District Judge



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